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Proposed Intervenor

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
WESTERN WATERSHEDS PROJECT, Lead Case
et al., CV 24-86-M-DWM
Plaintiffs, Member Case

CV-24-87-M-DWM
and CV-24-97-M-DWM
CENTER FOR BIOLOGICAL DEFENDANT-INTERVENORS
DIVERSITY, et al., ANSWER TO PLAINTIFFS’

COMPLAINT

Consolidated Plaintiffs,
vs.

UNITED STATES FISH AND
WILDLIFE SERVICE, et al.,

Defendants,

SPORTSMEN’S ALLIANCE
FOUNDATION, et al.,

Intervenor-Defendants,

DEFENDANT-INTERVENORS ANSWER TO PLAINTIFFS’ COMPLAINT-1
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STATE OF MONTANA and
MONTANA DEPARTMENT OF FISH,
WILDLIFE AND PARKS,

Defendant Intervenors Applicants.

Defendant Intervenors, State of Montana and Montana Fish, Wildlife and
Parks (together, “Montana’) answer Plaintiffs’ complaint and assert its affirmative
defenses as follows for the Member Case of this matter, CV 24-86-M-DWM.

INTRODUCTION

1. Paragraph 1 consists of Plaintiffs’ description of the nature of their ,
suit and legal conclusions that require no response. If a response is required, those
allegations are denied.

2. Montana admits that wolves in Idaho, Montana, and Wyoming, as
well as parts of Washington, Oregon, and Utah, are not currently protected, but
denies that they face substantial and intensifying threats. The allegations in the
second sentence of paragraph 2 are too subjective, vague, exaggerated, unqualified,
and/or ambiguous to permit a specific response. On that basis, Montana denies the
allegations. Montana denies the allegations in the third sentence of Paragraph 2.
Montana lacks sufficient knowledge and information to form a belief as to the truth
of the allegations in the fourth sentence of Paragraph 2 and, therefore, denies them.

3. Montana denies the allegations in Paragraph 3.

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4. | Montana denies the allegations in Paragraph 4.

5. Montana denies the allegations in the first and third sentences of
Paragraph 5. Montana admits the allegations in the second sentence of Paragraph
5.

6. The first sentence of Paragraph 6 purport to describe and characterize
the petition submitted by Plaintiffs, which speaks for itself and is the best evidence
of its contents. Montana denies any allegations inconsistent with the petition’s
plain language, meaning or context. Montana denies the allegations in the second
sentence of Paragraph 6.

7. Paragraph 7 purports to describe and characterize 89 Fed. Red. 8391,
8391-95 (Feb. 7, 2024), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with its plain language,
meaning or context.

8. Montana denies the allegations in Paragraph 8.

9. Paragraph 9 consists of Plaintiffs’ description of the nature of their
suit and legal conclusions that require no response. If a response is required, those
allegations are denied.

JURISDICTION
10. Paragraph 10 is a conclusion of law that requires no response. If a

response is required, those allegations are denied.

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11. Paragraph 11 is a conclusion of law that requires no response. Ifa
response is required, those allegations are denied.

12. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 12 and, therefore, denies them.

13. Paragraph 13 is a conclusion of law that requires no response. Ifa
response is required, those allegations are denied.

14. Montana denies the allegations in Paragraph 14.

VENUE

15. The first sentence of Paragraph 15 is a conclusion of law that requires
no response. If a response is required, those allegations are denied. The second
sentence of Paragraph 15 consists of Plaintiffs’ description of the nature of their
suit and legal conclusions that require no response. If a response is required, those
allegations are denied. Montana lacks sufficient knowledge and information to
form a belief as to the truth of the allegations in the third sentence of Paragraph 15
and, therefore, denies them.

16. Montana denies the allegations in Paragraph 16.

PARTIES

17. Montana lacks sufficient knowledge and information to form a belief

as to the truth of the allegations in the first, second, third and fourth sentences of

Paragraph 17 concerning the interests, membership, and activities of Plaintiff

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Center for Biological Diversity (“Center”), and denies them on that basis. The fifth
sentence of Paragraph 17 identifies Plaintiffs’ action, and no response is required.
If a response is required, those allegations are denied.

18. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in the first, second, third, fourth, fifth and sixth
sentences of Paragraph 18 concerning the interests, membership, and activities of
Plaintiff the Humane Society of the United States (“HSUS”), and denies them on
that basis. Montana admits the seventh sentence of Paragraph 18.

19. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in the first, second, third, fourth and fifth sentences
of Paragraph 19 concerning the interests, membership, and activities of Plaintiff
Human Society Fund (“HSLF”), and denies them on that basis. Montana admits
the sixth sentence of Paragraph 19.

20. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in the first, second, third, fourth and fifth sentences
of Paragraph 20 concerning the interests, membership, and activities of Plaintiff
Sierra Club, and denies them on that basis. Montana admits the sixth sentence of

Paragraph 20.

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21. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 21 concerning the interests,
membership, and activities of the Plaintiffs’, and denies them on that basis.

22. Montanan lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 22 concerning the interests, and
activities of Center staff member and California resident, Joshua Able, and denies
them on that basis.

23. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 23 concerning the interests, and
activities of Center staff member and Colorado resident, Brett Henderson, and
denies them on that basis.

24. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 24 concerning the interests, and
activities of Center staff member and Oregon resident, Noah Greenwald, and
denies them on that basis.

25. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 25 concerning the interests, and
activities of HSUS member, HSUS staff member, and Colorado resident, Wendy

Keefover, and denies them on that basis.

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26. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 26 concerning the interests, and
activities of HSUS member, HSUS staff member, and Oregon resident, Story
Warren, and denies them on that basis.

27. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 27 concerning the interests, and
activities of HSUS member, HSUS staff member, and Montana resident, David
Pauli, and denies them on that basis.

28. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 28 concerning the interests, and
activities of Sierra Club member, active volunteer and Greater Yellowstone
Ecosystem resident, Phil Knight, and denies them on that basis.

29. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 29 concerning the interests, and
activities of Plaintiff and their respective members, and denies them on that basis.

30. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 30, and denies them on that basis.

31. Montana denies the allegations in Paragraph 31.

32. Montana denies the allegations in Paragraph 32.

33. Montana denies the allegations in Paragraph 33.

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34. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 34, and denies them on that basis.

35. Montana denies the allegations in Paragraph 35.

Defendants

36. Montana admits the second sentence of Paragraph 36. The allegations
in the first sentence of Paragraph 36 are legal conclusions to which no response is
required. To the extent a response is required, Montana denies the allegations.

37. The allegations in Paragraph 37 consist of Plaintiffs’ description of
the nature of their suit and legal conclusion that require no response. If a response
is required, those allegations are denied.

38. Montana admits second sentence of Paragraph 38. The allegations in
the second sentence of Paragraph 38 are legal conclusions to which no response is
required. To the extent a response is required, Montana denies the allegations.

LEGAL BACKGROUND
Endangered Species Act — Purpose, Listings, and Protections

39. The first sentence of Paragraph 39 purports to describe and
characterize Tenn. Valley Auth. V. Hill, 437 U.S. 153, 180 (1978), which speaks for
itself and is the best evidence of its contents. Montana denies any allegations
inconsistent with the case law’s plain language meaning or context. The second

sentence of Paragraph 39 purport to describe and characterize 16 U.S.C. § 1531(b),

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which speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language meaning or context.

40. Paragraph 40 is a conclusion of law that requires no response. If a
response is required, those allegations are denied.

41. Paragraph 41 is a conclusion of law that requires no response. Ifa
response is required, those allegations are denied.

42. Paragraph 42 is a conclusion of law that requires no response. If a
response is required, those allegations are denied.

43. Paragraph 43 is a conclusion of law that requires no response. If a
response is required, those allegations are denied.

44. The first sentence of Paragraph 44 purports to describe and
characterize the SPR policy, which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning or context. The second sentence of Paragraph 44 purport to describe and
characterize Defs. Of Wildlife v. U.S. Fish & Wildlife Serv., 584 F. Supp. 3d 812,
828 (N.D. Cal. 2022), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning or context.

45. Paragraph 45 purports to describe and characterize Desert Survivors v.

U.S. Dep’t of the Interior, 321 F. Supp. 3d 1011, 1072-74 (N.D. Cal. 2018) and

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Defs. Of Wildlife v. Sec’y, U.S. Dep’t of the Interior, 354 F. Supp. 2d 1156, 1168
(D. Or. 2005), which speak for themselves and is the best evidence of their
contents. Montana denies any allegations inconsistent with the plain language,
meaning or context.

46. Paragraph 46 purports to describe and characterize the SPR policy and
Humane Soc’y of the United States v. Zinke, 865 F.3d 585, 605 (D.C. Cir. 2017),
which speak for themselves and is the best evidence of their contents. Montana
denies any allegations inconsistent with the plain language, meaning or context.

47. Paragraph 47 purports to describe and characterize 50 C.F.R. §
424.11(d), which speaks for itself and is the best evidence of its contents. Montana
denies any allegations inconsistent with the plain language, meaning or context.

48. Paragraph 48 purports to describe and characterize 16 U.S.C. §
1533(a)(1), which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with the plain language, meaning or
context.

49. Paragraph 49 purports to describe and characterize 50 C.F.R. §
424.11(c) and 16 U.S.C. § 1533(a)(1), which speaks for themselves and is the best
evidence of its contents. Montana denies any allegations inconsistent with the plain

language, meaning or context.

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50. The first sentence of Paragraph 50 purports to describe and
characterize 16 U.S.C. § 1533(b)(1)(A), which speaks for itself and is the best
evidence of its contents. Montana denies any allegations inconsistent with the plain
language, meaning, or context. The second sentence of Paragraph 50 purports to
describe and characterize 50 C.F.R. § 424.13, which speaks for itself and is the
best evidence of its contents. Montana denies any allegations inconsistent with the
plain language, meaning or context.

51. Paragraph 51 purports to describe and characterize H.R. Rep. No. 412,
93d Cong., Ist Sess. 5 (1973), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context.

52. Montana denies the allegations in the first sentence of Paragraph 52.
The allegations in the second and third sentences of Paragraph 52 are conclusions
of law that require no response. If a response is required, those allegations are
denied.

53. Paragraph 53 purports to describe and characterize the ESA, which
speaks for itself and is the best evidence of its contents. Montana denies any

allegations inconsistent with the plain language, meaning, or context.

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54. Paragraph 54 purports to describe and characterize the ESA, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

55. Paragraph 55 is a conclusion of law that requires no response. Ifa
response is required, those allegations are denied.

Endangered Species Act — Listing Petitions

56. Paragraph 56 is a conclusion of law that requires no response. If a
response is required, those allegations are denied.

57. Montana admits the allegations in Paragraph 57.

58. The first sentence of Paragraph 58 purports to describe and
characterize 16 U.S.C. § 1533(b)(1)(A) and 50 C.F.R. § 424.14(h)(2), which
speaks for themselves and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context. The second
sentence of Paragraph 58 purports to describe and characterize 50 C.F.R. § 424.14,
which speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

59. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 59 and, therefore, denies them.

60. Paragraph 60 purports to describe and characterize 16 U.S.C §

1533(h)(2)(i)-(iii), which speaks for itself and is the best evidence of its contents.

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Montana denies any allegations inconsistent with the plain language, meaning, or
context.

61. Paragraph 61 is a conclusion of law that requires no response. If a
response is required, those allegations are denied.

62. Paragraph 62 is a conclusion of law that requires no response. If a
response is required, those allegations are denied.

63. Paragraph 63 is a conclusion of law that requires no response. If a
response is required, those allegations are denied.

64. The first sentence of Paragraph 64 purports to describe and
characterize San Luis & Delta-Mendota Water Auth. V. Locke, 776 F.3d 971, 995
(9th Cir. 2014), which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with the plain language, meaning or
context. The second sentence of Paragraph 50 purport to describe and characterize
Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 and
Greater Yellowstone Coal., Inc. v. Servheen, 665 F.3d 1015, 1030 (9th Cir. 2011),
which speaks for themselves and is the best evidence of their contents. Montana
denies any allegations inconsistent with the plain language, meaning or context.

FACTUAL BACKGROUND
Gray Wolf Ecology and History of Persecution

65. Montana admits the allegations in Paragraph 65.

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66. Montana admits the first sentence of Paragraph 66. Montana denies
the second and third sentences of Paragraph 66.

67. The allegations in the first sentence of Paragraph 67 are too
subjective, vague, exaggerated, unqualified, and/or ambiguous to permit a specific
response. On that basis, Montana denies the allegations. Montana admits the
second and third sentences of Paragraph 67.

68. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in the first sentence of Paragraph 68, and,
therefore, denies them. Montana denies the allegations in the second sentence of
Paragraph 68.

69. Montana admits the allegations in the first and second sentences of
Paragraph 69. The allegations in the third sentence of Paragraph 69 are too
subjective, vague, exaggerated, unqualified and/or ambiguous to permit a specific
response. On that basis, Montana denies the allegations.

Legal Status of Gray Wolves in the Western United States

70. +The allegations in Paragraph 70 purport to describe and characterize a
2009 rule published at 74 Fed. Reg. 15123 (Apr. 2, 2009), which speaks for itself
and is the best evidence of its contents. Montana denies any allegations

inconsistent with the plain language, meaning, or context.

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71. The first sentence of Paragraph 71 purports to describe and
characterize Defs. Of Wildlife v. Salazar, 729 F. Supp. 2d 1207, 1228 (D. Mont.
2010), which speaks for itself and is the best evidence of its contents. Montana
denies any allegations inconsistent with the plain language, meaning, or context.
The second sentence of Paragraph 71 purports to describe and characterize the
Department of Defense and Full-Year Continuing Appropriations Act, Pub. L. No.
112-10 § 1713 (2011), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context. The third sentence of Paragraph 71 purports to describe and
characterize Defs. Of Wildlife v. Zinke, 849 F.3d 1077, 1077, 1081 (D.C. Cir.
2017), which speaks for itself and is the best evidence of its contents. Montana
denies any allegations inconsistent with the plain language, meaning, or context.

72. Montana admits the allegations in Paragraph 72.

73. Montana admits the allegations in Paragraph 73.

74. Paragraph 74 purports to describe and characterize Defs. Of Wildlife v.
U.S. Fish & Wildlife Serv., 584 F. Supp. 3d 812 (N.D. Cal. 2022), which speaks for
itself and is the best evidence of its contents. Montana denies any allegations
inconsistent with the plain language, meaning or context.

Threats to Gray Wolves in the Western United States

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75. The first sentence of Paragraph 75 purports to describe and
characterize 74 Fed. Reg. at 15166, which speaks for itself and is the best evidence
of its contents. Montana denies any allegations inconsistent with the plain
language, meaning, or context. Montana admits the allegations in the second and
third sentences of Paragraph 75. Montana denies the allegations in the fourth
sentence of Paragraph 75.

76. Montana admits the allegations in the first and second sentences of
Paragraph 76. Montana denies the allegations in the third and fourth sentences of
Paragraph 76.

77. The allegations of Paragraph 77 are too subjective, vague,
exaggerated, unqualified, and/or ambiguous to permit a specific response. On that
basis, Montana denies the allegations.

78. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 78, and, therefore, denies them.

79. Montana partially admits the first sentence of Paragraph 79, but
denies the lengthening of the wolf trapping season. Montana denies the second
sentence of Paragraph 79.

80. Montana lacks sufficient knowledge and information to form a belief

as to the truth of the allegations in Paragraph 80, and, therefore, denies them.

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81. Montana partially admits the first sentence of Paragraph 81, but
denies any allegation that Montana pays bounties for killing wolves. Montana
lacks sufficient knowledge and information to form a belief as to the truth of the
allegations in the second and third sentences of Paragraph 81.

82. Montana admits the first sentence of Paragraph 82. Montana denies
the remaining allegations in Paragraph 82.

83. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 83, and, therefore, denies them.

84. Montana denies the allegations in Paragraph 84.

85. Montana admits the allegations in the first sentence of Paragraph 85.
Montana denies the allegations in the second and third sentence of Paragraph 85.
The fourth sentence of Paragraph 85 are too subjective, vague, exaggerated,
unqualified, and/or ambiguous to permit a specific response. On that basis,
Montana denies the allegations.

Listing Petition, Initial Response, and “Not Warranted” Finding

86. Paragraph 86 purport to describe and characterize the Petition
submitted by the Service, which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with its plain language,

meaning, or context.

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87. Paragraph 87 purports to describe and characterize 86 Fed. Reg.
51857, 51859 (Sept. 17, 2021), which speaks for itself and is the best evidence of
its contents. Montana denies any allegations inconsistent with its plain language,
meaning, or context.

88. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 88, and, therefore, denies them.

89. The first sentence of Paragraph 89 purports to describe and
characterize the 12-month finding submitted by the service, which speaks for itself
and is the best evidence of its contents. Montana denies any allegations
inconsistent with the plain language, meaning, or context. The second sentence of
Paragraph 89 purports to describe and characterize the Species Assessment and
Listing Priority Assignment Form (“Form”) and the Species Status assessment for
the Gray Wolf in the Western United States (“SSA”), which is the best evidence of
its contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context.

90. Paragraph 90 purports to describe and characterize 89 Fed. Reg. at
8394, which speaks for itself and is the best evidence of its contents. Montana

denies any allegations inconsistent with the plain language, meaning, or context.

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91. Paragraph 91 purports to describe and characterize 89 Fed. Reg. at
8394-95, which speaks for itself and is the best evidence of its contents. Montana
denies any allegations inconsistent with the plain language, meaning, or context.

92. Montana admits the allegations in Paragraph 92.

Scientific Evidence Demonstrates the Imperiled Status of Gray Wolves in the
Western U.S.

93. Montana denies the allegations in Paragraph 93.

94. Montana admits the first sentence of Paragraph 94. The second and
fifth sentences of Paragraph 94 purport to describe and characterize Crabtree et al.
(2023), which speaks for itself and is the best evidence of its contents. Montana
denies allegations inconsistent with the plain language, meaning, or context.
Montana denies the third and fourth sentences of Paragraph 94.

95. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 95, and, therefore, denies them.

96. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 96, and, therefore, denies them.

97. Montana admits the first and second sentence of Paragraph 97. The
third and fourth sentence of Paragraph 97 are too subjective, vague, exaggerated,
unqualified, and/or ambiguous to permit a specific response. On that basis,
Montana denies the allegations. The fifth sentence of Paragraph 97 purport to

describe and characterize Frankham et al. (2014), which speaks for itself and is the

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best evidence of its contents. Montana denies any allegations inconsistent with the
plain language, meaning, or context.

98. Montana denies the allegations in the first sentence of Paragraph 98.
Montana admits the second and third sentences of Paragraph 98.

99. Paragraph 99 purports to describe and characterize vonHoldt et al.
(2023), which speaks for itself and is the best evidence of its contents. Montana
denies any allegations inconsistent with the study’s plain language, meaning, or
context.

100. Paragraph 100 purports to describe and characterize vonHoldt et al.
(2023), which speaks for itself and is the best evidence of its contents. Montana
denies any allegations inconsistent with the study’s plain language, meaning, or
context.

101. Paragraph 101 purports to describe and characterize vonHoldt et al.
(2023), which speaks for itself and is the best evidence of its contents. Montana
denies any allegations inconsistent with the study’s plain language, meaning, or
context.

102. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 102, and, therefore, denies them.

103. Montana lacks sufficient knowledge and information to form a belief

as to the truth of the allegations in Paragraph 103, and, therefore, denies them.

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104. The first sentence of Paragraph 104 purports to describe and
characterize 74 Fed Reg. at 15132, which speaks for itself and is the best evidence
of its contents. Montana denies any allegations inconsistent with the plain
language, meaning, or context. Montana denies the second sentence of Paragraph
104.

105. The allegations in the first sentence of Paragraph 105 are too
subjective, vague, exaggerated, unqualified, and/or ambiguous to permit a specific
response. On that basis, Montana denies the allegations. Montana lacks sufficient
knowledge and information to form a belief as to the truth of the allegations in the
second sentence of Paragraph 105, and, therefore, denies them.

The Service’s Faulty Justification for its “Not Warranted” Finding

106. Montana admits the allegations in Paragraph 106.

107. Paragraph 107 purports to describe and characterize 89 Fed. Reg. at
8395, which speaks for itself and is the best evidence of its contents. Montana
denies any allegations inconsistent with the plain language, meaning, or context.

108. Paragraph 108 purports to describe and characterize the 2024 finding,
which speaks for itself and is the best evidence of its contents. Montana denies any

allegations inconsistent with the plain language, meaning, or context.

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109. Paragraph 109 purports to describe and characterize the SSA, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

110. Paragraph 110 and its footnote purports to describe and characterize
the SSA and the Form, which speaks for themselves and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context.

111. Paragraph 111 purports to describe and characterize the SSA, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

112. Montana denies the allegations in Paragraph 112.

113. Paragraph 113 purport to describe and characterize the SSA, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

114. Paragraph 114 purports to describe and characterize the SSA, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

115. Montana denies the allegations in Paragraph 115.

116. Montana denies the allegations in Paragraph 116.

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117. Paragraph 117 purports to describe and characterize the SSA, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

118. The first and second sentences of Paragraph 118 purport to describe
and characterize the SSA, which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context. Montana denies the third sentence of Paragraph 118.

119. Montana denies the first and fourth sentences of Paragraph 119. The
allegations in the second sentence of Paragraph 119 are too subjective, vague,
exaggerated, unqualified, and/or ambiguous to permit a specific response. On that
basis, Montana denies the allegations. Montana admits the third sentence of
Paragraph 67.

120. Paragraph 120 purports to describe and characterize the SSA, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

121. Paragraph 121 purports to describe and characterize the Form, which
speaks for itself and is the best evidence of its contents. Montana denies any

allegations inconsistent with the plain language, meaning, or context.

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122. Paragraph 122 purports to describe and characterize the Form, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

123. Paragraph 123 purports to describe and characterize the Form and the
SSA, which speak for themselves and is the best evidence of its contents. Montana
denies any allegations inconsistent with the plain language, meaning, or context.

124. Paragraph 124 purports to describe and characterize the Form and the
SSA, which speak for themselves and is the best evidence of its contents. Montana
denies any allegations inconsistent with the plain language, meaning or context.

125. Paragraph 125 purports to describe and characterize the SSA, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

126. Paragraph 126 purports to describe and characterize the Form, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

127. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 127, and, therefore, denies them.

128. Paragraph 128 purports to describe and characterize the SSA, which
speaks for itself and is the best evidence of its contents. Montana denies any

allegations inconsistent with the plain language, meaning, or context.

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129. Montana denies the allegations in Paragraph 129.

130. Paragraph 130 purports to describe and characterize the SSA, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context.

CLAIM FOR RELIEF

Violations of the ESA and the APA in Determining that
Listing the Gray Wolf in the Western U.S. is “Not Warranted”
as an Endangered or Threatened “Distinct Population Segment”
131. Montana incorporates all proceeding paragraphs in response to
Paragraph 131.
132. Montana denies the allegations in Paragraph 132.

The Service’s Analysis of the Status of Wolves in the Northern Rocky Mountains
Ignores the Best Available Science and Relies on Faulty Assumptions

133. Montana denies the allegations in Paragraph 133.
134. Montana denies the allegations in Paragraph 134.
135. Montana denies the allegations in Paragraph 135.
136. Montana denies the allegations in Paragraph 136.
137. Montana denies the allegations in Paragraph 137.
138. Montana denies the allegations in Paragraph 138.
139. Montana denies the allegations in Paragraph 139.
140. Montana denies the allegations in Paragraph 140.

141. Montana denies the allegations in Paragraph 141.

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142. Montana denies the allegations in Paragraph 142.

The Service’s Analysis for Wolves in “Significant Portions” Outside the
Northern Rocky Mountains is Arbitrary and Capricious.

143. Montana denies the allegations in Paragraph 143.

144. Montana lacks sufficient knowledge and information to form a belief
as to the truth of the allegations in Paragraph 144, and, therefore, denies them.

145. The first sentence of Paragraph 145 purports to describe and
characterize the Form, which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context. Montana denies the second sentence of Paragraph 145.

146. Montana denies the allegations in Paragraph 146.

147. Montana denies the allegations in Paragraph 147.

148. Montana denies the allegations in Paragraph 148.

149. Montana denies the allegations in Paragraph 149.

150. Montana denies the allegations in Paragraph 150.

151. Montana denies the allegations in Paragraph 151.

The Service’s Determination that Wolves in “All” of the Western DPS Are Not
Threatened or Endangered is Arbitrary and Capricious

152. Montana denies the allegations in Paragraph 152.
153. The first sentence of Paragraph 153 purports to describe and

characterize the SSA, which speaks for itself and is the best evidence of its

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contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context. Montana denies the remaining allegations in Paragraph 153.

154. The first sentence of Paragraph 154 purports to describe and
characterize the Form, which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,
meaning, or context. Montana denies the remaining allegations in Paragraph 154.

155. Montana denies the allegations in Paragraph 155.

156. Montana denies the allegations in Paragraph 156.

157. Montana denies the allegations in Paragraph 157.

158. Paragraph 158 is a conclusion of law that requires no response. Ifa
response is required, those allegations are denied.

GENERAL DENIAL

Montana denies any allegations of the Plaintiffs’ Complaint, whether

express or implied, that are not specifically admitted, denied, or qualified herein.
AFFIRMATIVE DEFENSES

Defendant-Intervenor Montana asserts the following defenses:

1. Plaintiffs have failed to state a claim or claims upon which relief can
be granted.
2. This Court lacks subject matter jurisdiction over some or all of the

claims asserted.

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3. Plaintiff's have failed to join a necessary party under Fed. R. Civ. P.
19,

4. No act or omission of any Defendant caused a violation of the
Plaintiffs’ federal rights, privileges, or immunities.

The above-listed defenses are asserted in good faith without the benefit of
discovery and for the purposes of avoiding waiver. If Defendant-Intervenor later
becomes aware that the evidence does not support any of the above-listed defenses,
Defendant-Intervenor will withdraw these defenses.

PRAYER FOR RELIEF

Defendant-Intervenor Montana respectfully requests that this Court dismiss
Plaintiffs’ Complaint in its entirety and order such further relief as it deems
appropriate.

DATED this 24th day of September, 2024.

/s/ Alexander R. Scolavino Ill
Alexander R. Scolavino II
Agency Legal Counsel

Jeffrey M. Hindoien
Chief Legal Counsel

DEFENDANT-INTERVENORS ANSWER TO PLAINTIFFS’ COMPLAINT-28
